      Case 1:22-cv-00146-REP Document 1-2 Filed 04/04/22 Page   1 of 7Filed
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                                                                             Third Judicial District, Canyon County
                                                                             Chris Yamamoto, Clerk of the Court
                                                                             By: Stephanie Fernicola, Deputy Clerk




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Attorneys for Plaintiff, Cindy Beyersdorf

            IN THE DISTRICT OF THE THIRD JUDICIAL DISTRICT OF

       THE STATE OF IDAHO, IN AND FOR THE COUNTY OF CANYON
                                                          CV14-22-01860
CINDY L. BEYERSDORF,                         )   Case No. __________
                                             )
                          Plaintiff,         )   COMPLAINT AND DEMAND FOR
                                             )   JURY TRIAL
V.
                                             )
                                             )   Fee Category: A.A.
TRANSAMERICA LIFE INSURANCE                      Filing Fee: $221.00
                                             )
COMPANY,
                                             )
                          Defendant.         )
                                             )

       The above-named Plaintiff, Cindy L. Beyersdorf, for her cause of action, complains

and alleges as follows:

                                        PARTIES

       1.      Plaintiff, Cindy L. Beyersdorf ("Beyersdorf') 1s an adult resident of

Adams County, Colorado.

       2.      Terry Cook ("Cook"), insured to the subject life insurance policy and now

deceased, was a resident of Canyon County, Idaho at the time of his death.




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       3.      Transamerica Life Insurance Company (“Transamerica”) is a for-proﬁt

corporation licensed to conduct life insurance practices in the state of Idaho with its

principal place of business located in Cedar Rapids, Iowa.

                               JURISDICTION AND VENUE

       4.      Jurisdiction is proper under Idaho Code       § 1—705     in         state   of Idaho
                                                                              the

because this matter involves a life insurance policy purchased in the state         of Idaho. The

amount in controversy is in excess     of $10,000.

       5.      Venue is proper under Idaho Code § 41-1838 because the policyholder

resided in Canyon County.

                               FACTUAL ALLEGATIONS
       6.      Cook and Transamerica entered into a contract under which Transamerica

insured Cook’s life in the event Cook died as a result of an accident.

        7.     The terms of the contact were contained in a policy of insurance (“policy”)

that was drafted by or on behalf of Transamerica.

        8.     The policy was issued and delivered in the state of Idaho.

        9.      The policy contained a provision that required it apply the law in the state

that it was delivered.

        10.     Cook paid all premiums and/or otherwise satisﬁed all conditions and

covenants and, performed all things required under the policy.

        11.     Cook designated Beyersdorf, his former wife and friend, as the sole

beneﬁciary under the policy.

        12.     The policy provided for the payment of $100,000 to the named beneﬁciary

upon the accidental death   of Cook.



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       13.     On May 30, 2020, Cook died as a result of blunt force trauma caused by a

Violent single car automobile accident.

       l4.     At the time of Cook’s death, the subject policy was in full force and effect.

       15.     Following the death of Cook, Beyersdorf gave timely and reasonable notice

and veriﬁcation to Transamerica    of Cook’s death.

       l6.     Beyersdorf has timely performed all conditions of payment required under

the policy and has submitted to Transamerica a valid claim for beneﬁts under the policy.

       17.     Subsequently, Transamerica sent a letter to Beyersdorf indicating that the

beneﬁts on Cook’s policy were denied.

       18.     Despite its contractual obligations to Beyersdorf, Transamerica continues to

deny Beyersdorf s claim for payment of beneﬁts under the policy.

       19.     Transamerica has no lawful basis for refusing to perform under the contract.

       20.     As a direct and proximate result of Transamerica’s acts and omissions           as


alleged herein, it has become necessary for Beyersdorf to retain the services of an attorney

and other professionals to prosecute, preserve any and all rights and claims, and collect the

amounts due under the policy.

       21.    ”As the direct result of Transamerica’s bad faith insurance practices and its

refusal to recognize the full force and effect of Cook’s life insurance policy, Beyersdorf

has suffered damages exceeding $100,000, plus interest, costs and attorney’s fees.

                ALLEGATIONS INCORPORATED BY REFERENCE
       22.     Each and every one of the following counts incorporate by reference each

and every allegation   of this Complaint whether such allegation is speciﬁcally      set forth


under a particular count or not.



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                                           COUNT I
                                      (Breach of Contract)

        23.       Despite submissions of reasonable proof and demands for payment,

Transamerica has not paid Beyersdorf said beneﬁts to Which Beyersdorf is entitled under

the policy    of life insurance.

        24.       Transamerica’s denial of beneﬁts is Without reasonable foundation.

        25.       Transamerica is obligated by the clear language of the insurance contract to

indemnify Beyersdorf for the death of Cook.

        26.       Transamerica’s refusal to pay Beyersdorf constitutes a breach of the terms

and conditions       of the policy such that Beyersdorf is entitled to damages from

Transamerica.

        27.       As a direct result of Transamerica’s breach of contract, Beyersdorf has

suffered damages in the amount of $100,000, exclusive of interest, costs and attorney’s

fees.

                                           COUNT II
                                     (Speciﬁc Performance)

        28.       In order to carry out justice and the intent of Cook and Transamerica in

entering into the insurance contract, the Court should order Transamerica to speciﬁcally

perform its obligation under the policy by paying Beyersdorf $100,000, exclusive of

interest, costs and attorney fees.

                                          COUNT IV
                                      (Unjust Enrichment)

        29.       Cook paid all premiums to Transamerica in a timely manner. In so doing,

Cook conferred a beneﬁt unto Transamerica.




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        30.       Transamerica accepted such beneﬁt under circumstances that would result

in an injustice   if Transamerica retained such beneﬁt.
                                                COUNT VI
                                            (Equitable Estoppel)

        31.       Beyersdorf and Cook reasonably relied on Transamerica’s explicit and/or

implied representations and assurances that the policy was in full force and effect.

        32.       It was foreseeable that Beyersdorf and Cook would rely on Transamerica’s

representations.

        33.       Transamerica knew or should have known that Cook and Beyersdorf were

relying on the policy.

        34.       As a result of Beyersdorfs and Cook’s reliance on Transamerica’s

representations and assurances:

                  A.        Cook and/or Beyersdorf did not seek alternate coverage;

                  1B.       Cook and/or Beyersdorf did not seek to rectify the unknown issues

        with coverage; and

                  C.        Beyersdorf is left without the beneﬁts allocated to assist with

        Cook’s ﬁnal expenses.

        35.       As    a direct result   of Transamerica’s refusal   to recognize the full force and

effect of Cook’s life insurance policy, Beyersdorf has suffered damages exceeding

$100,000, exclusive of interest, costs and attorney’s fees.

                                               COUNT VII
                  (Breach of Implied Covenant of Good Faith and Fair Dealing)

        36.       Implied under the policy as a matter of law is a covenant of good faith and

fair dealing.



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       37.      Cook purchased the policy in good faith and exercised good faith in all

dealings with Transamerica.

       38.      Likewise, Beyersdorf exercised good faith in all her dealings with

Transamerica.

       39.      Transamerica breached this covenant by:

                A.       Denying Beyersdorf’s claim without basis;

                .B.      Continuing to deny Beyersdorfs claim after several attempts by

       Beyersdorf, directly or through counsel, to provide additional information and

       support for Beyersdorfs claim in hopes that Beyerdorf           will forego her right   to


       payment and not pursue her claim;

                C.        Failing to timely pay Beyersdort’s claim and unnecessarily drawing

       out the claim process.

       40.      As    a direct result of. Transamerica’s breach   of the covenant of good faith

under the policy, Beyersdorf has suffered damages including money damages exceeding

$100,000, prc—judgment interest, costs and attorney’s fees, anxiety, mental anguish, loss of

sleep, and inability to bring closure to the death of her signiﬁcant other, Cook.

                                    PUNITIVE DAMAGES
       41.      Transamerica’s conduct in this matter was extreme, outrageous and

warrants punitive damages. Beyersdorf therefore expressly reserves the right to seek leave

to add a claim for punitive damages under Idaho Code § 6-1604.

                               COSTS AND ATTORNEY FEES
       42.      Beyersdorf has been required to retain the law ofﬁces of Shep Law Group

duly licensed and practicing attorneys of the state of Idaho, to institute and prosecute her



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claim. Beyersdorf is entitled to recover her costs and attorney’s fees reasonably incurred

in this action under Idaho Code §§ 41-1839, 12-120(3) and 12-121, as well as Rule 54(d)

and 54(e)   of the Idaho Rules of Civil Procedure.

                                  PRAYER FOR RELIEF
       WHEREFORE, Beyersdorf prays for relief as follows:
       1.       For declaratory judgment in Beyersdorfs favor and against Transamerica

declaring the policy in full force and effect at the time Cook died;

       2.       For the entry of a money judgment against Transamerica and in favor of

Beyersdorf in an amount to be established and proven at trial;

       3.       For an award of prejudgment interest;

       4.       For an award of costs incurred herein;

       5.       For an award of attorney’s fees incurred herein; and

       6.       For such other and further relief as the Court deems just and equitable.

                               DEMAND FOR JURY TRIAL

       Pursuant to I.R.C.P. 38, Beyersdorf hereby respectfully demands a jury trial of

twelve people on all               in this Complaint and triable of right by jury.

       DATED this isqus’ESfd
                          day of March 2022

                                              SHEP LAW GROUP
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                                              R'ON R. SHEPHERD                           5.3}. 00                s3" c’? .5
                                              Attorneys for Plaintiff                                    0F G'E‘te    Q:\
                                                                        State of Idaho      ’0,                      ‘s‘\
                                                                        COUntY of Canyon
                                                                                                   ""IIH“
                                                                                           } SS ifs/DICIAL‘OE‘
                                                                        |
                                                                          hereby certify that the foregoing instrument
                                                                        is a true and correct copy of the original as
                                                                        the same appears in this ofﬁce.
                                                                        DATED

COMPLAINT AND DEMAND FOR JURY TRIAL — 7                                     4/1/2022 2:22:57 PM
                                                                                                     of the District Court

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                                                                                            Deputy
